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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

RAID FARIA,

         Plaintiff,

vs.

HOME DEPOT U.S.A. INC.,

         Defendant.

____________________________/

              NOTICE OF REMOVAL BY DEFENDANT, HOME DEPOT U.S.A., INC.

         The Defendant, HOME DEPOT U.S.A., INC., by and through its undersigned counsel, hereby files

this Notice of Removal of Cause pursuant to 28 U.S.C. §1441, et seq., and 28 U.S.C. §1332, to remove to

the United States District Court, Middle District of Florida, Tampa Division (the “Federal Court”), that

cause of action presently pending in the Circuit Court of the 13th Judicial Circuit, in and for Hillsborough

County, Florida (the “State Court”), Case No. 21-CA-4353, and styled RAID FARIA, v. HOME DEPOT

U.S.A. INC, (see Plaintiff’s Complaint; attached hereto as Exhibit “A”), and in support of this Notice of

Removal of Cause, Defendant states as follows:

      A. Complete Diversity of Citizenship Exists

         Plaintiff, Raid Faria, at the time of the alleged incident giving rise to this matter, and at all

subsequent times material hereto, was and is a Florida resident. (See Compl. ¶ 2). Moreover, all of the

records provided to us by Plaintiff reflect the following as Plaintiff’s permanent residence: 8410 Caladesi

Island Drive in Temple Terrace, Florida—this residence is located within the Middle District of Florida.

(See Various records produced by Plaintiff from June 5, 2020 to January 21, 2021; attached hereto as

Composite Exhibit “B”). Defendant knows of no other addresses for Plaintiff, including no other
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residences in the state of Georgia or the state of Delaware, where, as averred below, the Defendant would

be deemed a citizen.1

        Defendant, Home Depot U.S.A., Inc., is a foreign corporation organized under the laws of the state

of Delaware and which has its principal place of business in the state of Georgia at 2455 Paces Ferry Road,

Atlanta, Georgia 30339. (See Defendant’s Annual Reports; attached hereto as Composite Exhibit “C”).

Defendant, Home Depot U.S.A., Inc., is not organized under the laws of the state of Florida, and does not

have its principal place of business in the state of Florida. Therefore, Defendant is not a citizen of the State

of Florida.

        This Notice of Removal of Cause is founded upon diversity of citizenship jurisdiction pursuant to

28 U.S.C. §1332 and 28 U.S.C. §1441, and complete diversity of citizenship exists between the Plaintiff

and the Defendant.

     B. The Amount in Controversy Requirement is Satisfied

        Pursuant to 28 U.S.C. §1332(a), the amount in controversy in this case exceeds the required

$75,000 jurisdictional threshold. As the party seeking removal, “Defendant bears the burden of establishing

jurisdiction.” Houston v. Garrison Prop. & Cas. Ins. Co., No. 8:14-CV-01944-EAK, 2014 WL 6469608,

at *2 (M.D. Fla. Nov. 17, 2014); Lowery v. Alabama Power Co., 483 F.3d 1184, 1207 (11th Cir. 2007). If

specific amount of damages is not pled, “the removing defendant must prove by a preponderance of the

evidence that the amount in controversy exceeds the jurisdictional requirement.” Houston, 2014 WL

6469608, at *2 (citing Williams v. Best Buy Co., 269 F.3d 1316, 1319 (11th Cir.2001)).

        Here, Plaintiff’s Complaint against Defendant alleges damages in excess of the State Court’s

$30,000.00 jurisdictional threshold and asserts a premises liability/trip-and-fall negligence claim on behalf

of Plaintiff. (See Compl. ¶ 1.) According to the Complaint, Plaintiff’s claim originates from an alleged

April 17, 2020 incident wherein he claims to have sustained “bodily injury and resulting pain and suffering,



1
  Based on the foregoing, it is clear to Defendant that Plaintiff’s true, fixed and permanent home and principal
establishment, and to which he had the intention of returning whenever he was absent therefrom, is and was located
within the state of Florida. See Mikesell v. FIA Card Services, 936 F.Supp.2d 1327, 1330 (M.D. Fla. 2013).
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disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, inconvenience, expense

of hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to earn money,

and aggravation of a previously existing condition.” (See Compl. ¶¶ 8-11.)

         In this regard, Plaintiff provided a pre-suit demand with medical bills totaling over $100,000. (See

Plaintiff’s Demand, dated February 12, 2021; attached hereto as Exhibit “D.”). As alleged in the demand,

Plaintiff’s causally relates $190,277.50 in billed past medical expenses to the April 17, 2020 incident. (See

Exhibit “C.”). The included, and allegedly causally related bills/expenses are as follows:

                 Creighton Health Care:                                  $20,774.32
                 Tower Radiology/Blackfin Medical:2                      $6,075.00
                 Alliance Spine and Joint:                               $54,214.18
                 Phvsician Partners of America Anesthesia:               $38,400.00
                 Armenia Surgerv Center:                                 $70,814.00
                                                 TOTAL:                   $190,277.50

         As an aside, Plaintiff may argue that although he was billed over $190,000 for past medical

treatment, his bills have been, or will be, paid by insurance.3 However, even if the Court finds this to be

correct, Defendant asserts that it has still met its burden by a preponderance of the evidence an amount in

controversy above the $75,000.00 jurisdictional threshold.

         Furthermore, Plaintiff also claims to have suffered lost wages amounting to $12,240.00 as of

February 2021. (See Exhibit “D.”). In total, Plaintiff claims to have incurred $202,517.50 in past medical

expenses and lost wages, recovery of which is sought in the instant lawsuit, alone, exceeds and satisfies the

Federal Court’s $75,000.00 jurisdictional threshold required under 28 U.S.C. §1332(a).




2
 The medical bill produced indicates that Plaintiff’s total charges amount to $8,300.00.
3
 With regard to any argument that the jurisdictional amount in controversy is not met because of third-party payments,
Defendant notes that “subject matter jurisdiction is not defeated simply because the parties might anticipate a future
reduction in recoverable damages.” Stramiello v. Petsmart, Inc., No. 8:10-cv-659-T-33TGW, 2010 WL 2136550
(M.D. Fla. May 26, 2010); see also Henry v. K-Mart Corp., 2010 WL 5113558 (M.D. Fla. Dec. 9, 2010) (agreeing
with Stramiello that collateral source setoffs are not relevant to calculating jurisdiction amount at time of removal).
“That Florida law might require a set-off at final judgment that reduces [Plaintiff’s] final recovery to or below $75,000
does not affect the jurisdictional amount in controversy at the outset of litigation.” O’Toole v. Napa Home & Garden,
Inc., No. 8:11-cv-2724-T-23AEP, 2012 WL 12904228 (M.D. Fla. June 26, 2012).
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     C. The Other Prerequisites and Requirements for Removal Have Been Satisfied

         Defendant has filed with the Clerk of the State Court a Notice that this Cause has been removed.

There has been no waiver by this Defendant of any right to remove this cause to the Federal Court. Filed

under a separate Notice of Filing and incorporated herein are copies of all process, pleadings, orders and

other papers or exhibits of every kind on file in the State Court.

         This Notice of Removal of Cause was timely filed within thirty (30) days of June 2, 2021, the date

upon which the Defendant was served with the Complaint.4 (See Notice of Service of Process, dated June

2, 2021; attached hereto as Exhibit “E.”).

         The undersigned counsel are attorneys of record for HOME DEPOT U.S.A., INC. and have been

specifically authorized to act on behalf of the Defendant in seeking removal of this cause to the Federal

Court.

         WHEREFORE, Defendant, HOME DEPOT U.S.A., INC., hereby removes this cause from the

Circuit Court of the Thirteenth Judicial Circuit, in and for Hillsborough County, Florida, to the United

States District Court, Middle District of Florida, Tampa Division, and requests that all further proceedings

be conducted in this Court as provided by law.

         RESPECTFULLY SUBMITTED this 25th day of June, 2021.



                                                        By:   /s/ Meghan L. Theodore
                                                              Anthony J. Petrillo
                                                              Florida Bar No.: 874469
                                                              Meghan L. Theodore
                                                              Florida Bar No.: 52054




4
  “The notice of removal of a civil action or proceeding shall be filed within 30 days after the receipt by the defendant,
through service or otherwise, of a copy of the initial pleading setting forth the claim for relief upon which such action
or proceeding is based.” 28 U.S.C. § 1446(b)(1).
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                                   CERTIFICATE OF SERVICE
       WE HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

Florida E-Portal to: Misty Morgan Vivanna, Esq., KEMP, RUGE & GREEN LAW GROUP, 11567

Trinity Boulevard, Trinity, FL 34655, service@krglawgroup.com, Counsel for Plaintiff; on this 25th day

of June, 2021.

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                                 Secondary: AJP@insurancedefense.net
                                 Tertiary: MTheodore@insurancedefense.net

                                   /s/ Meghan L. Theodore
                                 Anthony J. Petrillo
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                                 Florida Bar No.: 52054
